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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF DELAWARE

                                                              )
    In re:                                                    )         Chapter 11
                                                              )
    JAB Energy Solutions II, LLC,                             )         Case No. 21-11226 (CTG)
                                                              )
                          Debtor.                             )
                                                              )
                                                              )         Re: Docket No. 27

            INTERIM ORDER (I) AUTHORIZING THE DEBTOR TO (A) OBTAIN
           POSTPETITION FINANCING AND (B) UTILIZE CASH COLLATERAL,
              (II) GRANTING ADEQUATE PROTECTION TO PREPETITION
             SECURED LENDERS, (III) MODIFYING THE AUTOMATIC STAY,
     (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)1 of JAB Energy Solutions II, LLC, as debtor and debtor

in possession (the “Debtor”) in the above-captioned chapter 11 case (collectively, the “Case”), for

entry of an interim order (this “Interim Order”), pursuant to sections 105, 361, 362, 363(c), 364,

503, and 507 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 4001,

and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2002-

1, 4001-2, 9006, and 9013-1 of the Local Rules of Bankruptcy Practice and Procedure for the

District of Delaware (the “Local Bankruptcy Rules”), seeking, among other things:

                    (i)       authorization for the Debtor to obtain and be obligated in respect of

postpetition financing (including requirements for the Debtor’s use of Cash Collateral (as defined

herein), the “DIP Facility”), up to an aggregate principal amount of $720,000 of new money

funding from GarMark SBIC Fund II, L.P. (the “DIP Lender”) pursuant to the terms of this Interim




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  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Motion
or the DIP Term Sheet (as defined below). In the event of any discrepancy between the terms of this Interim Order
and the DIP Term Sheet, the terms of this Interim Order shall control.


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Order and the DIP Term Sheet attached hereto as Exhibit 1;2

                  (ii)        authorization for the Debtor to execute and deliver the DIP Term Sheet and

to perform its obligations thereunder and to perform such other and further acts as may be required

in connection with the DIP Term Sheet;

                  (iii)       authorization for the Debtor to borrow up to the Initial Interim DIP Loan

(as defined below) from the DIP Lender;

                  (iv)        the granting of adequate protection in favor of the Prepetition Lenders (as

defined below) under the Prepetition Loan Documents (as defined below) in accordance with this

Interim Order;

                  (v)         authorization for the Debtor’s use of cash collateral (as such term is defined

in section 363(a) of the Bankruptcy Code, including, without limitation, any accounts receivable

and general intangible and any other cash or right that would be included in such definition of

“cash collateral” within the meaning of section 363(a) of the Bankruptcy Code) constituting

Prepetition Collateral (as defined herein) (including, without limitation, all cash and cash

equivalents and other amounts from time to time on deposit or maintained by the Debtor in any

deposit or securities account or accounts as of the Petition Date) or any cash or cash equivalents

received by the Debtor after the Petition Date as proceeds of the Prepetition Collateral (together,

the “Cash Collateral”) on the terms and conditions set forth in this Interim Order and in the DIP

Documentation and subject to the Budget (as defined below), and the granting of adequate

protection to the Prepetition Lenders with respect to such use of Cash Collateral;




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  The DIP Lender reserves the right to require additional documentation with respect to the DIP Facility, which may
include, but is not limited to, the execution of a promissory note and security agreement by the Debtor and Holdings
in favor of the DIP Lender (the DIP Term Sheet, together with all related documentation, including but not limited to
any promissory note, to the extent executed, the “DIP Documentation”).


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                  (vi)        approval of the stipulations and releases by the Debtor as set forth in this

Interim Order and the DIP Term Sheet with respect to the Prepetition Loan Documents and the

liens and security interests arising therefrom;

                  (vii)       authorization for the Debtor to grant security interests, liens, and

superpriority claims (including superpriority claims pursuant to section 364(c)(1) of the

Bankruptcy Code, liens pursuant to sections 364(c)(2) and 364(c)(3) of the Bankruptcy Code, and

priming liens pursuant to section 364(d) of the Bankruptcy Code) to the DIP Lender in each case

payable from, and having recourse to, all prepetition property of the Debtor, all postpetition

property of the Debtor’s estate and all proceeds thereof; except that the DIP Liens (as defined

herein) are subject only to the Carve Out (as defined herein) and any Permitted Liens (as defined

in the Prepetition Loan Documents), which such liens were valid, perfected, and non-avoidable

liens existing on the Petition Date;

                  (viii) authorization for the DIP Lender, to (1) terminate the DIP Facility in

accordance with its terms; (2) declare the DIP Facility to be immediately due and payable in full,

to the extent permitted by the terms thereof; (3) be granted relief from the automatic stay to

foreclose on the DIP Liens; and (4) freeze, take possession of, set off against, and otherwise

exercise any remedy available to a secured party under the DIP Documentation, at law or in equity

with respect to all DIP Collateral (including Cash Collateral) until the DIP Obligations and the

obligations and the rights granted in this Interim Order, have been indefeasibly paid in full in cash,

in each case in accordance with this Interim Order and the DIP Documentation;

                  (ix)        subject to and upon entry of a final order, substantially in the form of this

Interim Order (the “Final Order”), authorization of (A) the waivers by the Debtor of the equities

of the case exception of section 552(b) of the Bankruptcy Code with respect to the DIP Collateral,



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right to assert claims to surcharge against the DIP Collateral pursuant to section 506(c) of the

Bankruptcy Code to the extent set forth in paragraph 7 hereof, and right to seek marshaling with

respect to the DIP Collateral and (B) authorization of the waivers by the Debtor of the equities of

the case exception of section 552(b) of the Bankruptcy Code with respect to the Prepetition

Collateral, right to assert claims to surcharge against the Prepetition Collateral pursuant to section

506(c) of the Bankruptcy Code to the extent set forth in paragraph 7 hereof, and right to seek

marshaling with respect to the Prepetition Collateral;

                  (x)         modification of the automatic stay imposed under section 362 of the

Bankruptcy Code to the extent necessary to implement and effectuate the terms and provisions of

the DIP Documentation and this Interim Order, as applicable;

                  (xi)        the scheduling of a final hearing (the “Final Hearing”) to consider entry of

the Final Order, granting the relief requested in the Motion on a final basis; authorizing the balance

of the borrowings under the DIP Term Sheet on a final basis as set forth in the Motion and the DIP

Term Sheet; establishing that all of the Debtor’s obligations with respect to the Prepetition Senior

Indebtedness, including principal, interest, fees, cost and other charges payable thereunder through

the date of repayment (the “Roll-Up”), shall be deemed post-petition obligations of the Debtor,

which roll-up shall be indefeasible, subject to and upon the expiration of the Challenge Period, and

may be effectuated by deeming on a cashless basis all of the Debtor’s obligations with respect to

the Prepetition Senior Indebtedness (defined below) to be post-petition obligations of the Debtor

on a dollar-for-dollar basis upon the terms and conditions set forth in the Final Order; and

approving the Debtor’s notice procedures with respect thereto; and

                  (xii)       waiver of any applicable stay (including under Rule 6004 of the Bankruptcy

Rules) and the provision for immediate effectiveness of this Interim Order.



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         The Court having considered the relief requested in the Motion, the exhibits attached

thereto, any declarations in support of the Motion, the DIP Term Sheet, and the evidence submitted

and arguments made at the Interim Hearing held on October 1, 2021 (the “Interim Hearing”), and

notice of the Interim Hearing having been given in accordance with Bankruptcy Rules 2002,

4001(b), (c) and (d), and all applicable Local Bankruptcy Rules; and the Interim Hearing having

been held; and all objections, if any, to the interim relief requested in the Motion having been

withdrawn, resolved or overruled by the Court on the record on the Interim Hearing; and it

appearing that approval of the interim relief requested in the Motion is necessary to avoid

immediate and irreparable harm to the Debtor and its estates pending the Final Hearing, and

otherwise is fair and reasonable and in the best interests of the Debtor and its estate, and is essential

for the continued operation of the Debtor’s business and the preservation of the value of the

Debtor’s assets; and it appearing that the Debtor’s entry into the DIP Term Sheet is a sound and

prudent exercise of the Debtor’s business judgment; and after due deliberation and consideration,

and good and sufficient cause appearing therefor;

         BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING,

THE COURT MAKES THE FOLLOWING FINDINGS OF FACT AND CONCLUSIONS

OF LAW:3

         A.       Background. On September 7, 2021 (the “Petition Date”), the Debtor filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code with the United States

Bankruptcy Court for the District of Delaware (the “Court”). The Debtor has continued to operate

its business as debtor-in-possession under sections 1107 and 1108 of the Bankruptcy Code. No


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  The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law pursuant
to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent that
any of the following findings of fact constitute conclusions of law, they are adopted as such. To the extent any of the
following conclusions of law constitute findings of fact, they are adopted as such.


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trustee or examiner has been appointed in the Case. On September 24, 2021, the Office of the

United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an official

committee of unsecured creditors in the Case (the “Committee”).

         B.       Prepetition Secured Parties’ Consent. Subject to the terms of this Interim Order,

the Prepetition Lenders as secured parties under the Senior Secured Note and the Junior Credit

Agreement (each as defined below) have agreed to permit the Debtor to use the Cash Collateral,

pursuant to the DIP Term Sheet and this Interim Order.

         C.       Objections Denied and Overruled. Except as otherwise expressly provided in this

Interim Order, and subject to the record of the Interim Hearing, any objection to the entry of this

Interim Order that has not been withdrawn, waived, resolved or settled is hereby denied and

overruled on the merits.

         D.       Jurisdiction. This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§

157 and 1334. Venue of the Case and the Motion in this district is proper under 28 U.S.C. §§ 1408

and 1409, and this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The statutory

predicates for the relief sought herein are sections 105, 361, 362, 363, 364, 503, and 507 of the

Bankruptcy Code, Bankruptcy Rules 2002, 4001, and 9014, and Local Bankruptcy Rules 2002-1,

4001-2, 9006, and 9013-1.

         E.       Notice. The Debtor has provided notice of the Motion and the Interim Hearing via

telephone, hand delivery, electronic transmission, or overnight mail to (i) the U.S. Trustee, (ii) the

Committee; (iii) the DIP Lender and the Prepetition Lenders; (iv) any other known pre-petition

secured lender; (v) counsel to the parties referenced in clauses (iii) and (iv); (vi) the United States

Attorney’s Office for the District of Delaware; (vii) the Internal Revenue Service; (viii) the

Environmental Protection Agency and similar state environmental agencies for states in which the



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Debtor conducts business; (ix) the state attorneys general for states in which the Debtor conducts

business; (x) the United States Securities and Exchange Commission; (xi) all known parties

asserting a lien against the DIP Collateral; and (xii) all parties that have requested or that are

required to receive notice pursuant to Bankruptcy Rule 2002.

         F.       Debtor’s Stipulations. Without prejudice to the rights of the Committee or any

other party in interest (but which rights are subject to the limitations thereon contained in

paragraphs 18 and 19 hereof), the Debtor admits, stipulates, and agrees that:

                  (i)         Prepetition Senior Loan Documents. As of the Petition Date, the Debtor,

together with Allison Marine Contractors II, LLC, a Delaware limited liability company

(“AMC II”), Allison Land Development II, LLC, a Delaware limited liability company

(“ALD II”), Allison Offshore Services II, LLC, a Delaware limited liability company (“AOS II”),

Allison Industrial Services, LLC (formerly known as Allison Marine-Morgan City II, LLC), a

Delaware limited liability company (“AIS”), Tarpon Systems International II, LLC, a Delaware

limited liability company (“TSI II”), and Holdings (as Guarantor) (the Debtor, AMC II, ALD II,

AOS II, AIS, TSI II, and Holdings are referred to herein collectively as the “Borrowers” and each

individually as a “Borrower”), were each indebted and jointly and severally liable to GarMark

SBIC Fund II, L.P. (in its capacity as pre-petition lender under the Senior Secured Note, the

“Prepetition Senior Lender”) under that certain Senior Secured Promissory Note, Security

Agreement and Guaranty (the “Senior Secured Note,” and together with the associated documents,

collectively, the “Prepetition Senior Loan Documents”), without defense, counterclaim or offset

of any kind, for all of the Prepetition Senior Indebtedness (as defined below), including without

limitation, Loans (as defined in the Senior Secured Note) made by such Prepetition Senior Lender

in the aggregate principal amount of not less than $3,000,000 under the Senior Secured Note, plus



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accrued and unpaid interest, costs, indemnification obligations and other charges or amounts, and

out-of-pocket expenses (including the reasonable and documented fees, charges and disbursements

of counsel to the Prepetition Senior Lender, incurred in connection with the enforcement or

protection of such party’s rights), plus all other amounts (including without limitation any

contingent or unliquidated indemnification obligations) that would constitute Obligations under

the Senior Secured Note (collectively, the “Prepetition Senior Indebtedness”).

                   (ii)       Prepetition Junior Loan Documents. As of the Petition Date, the Debtor,

along with the Borrowers noted above, were each indebted and jointly and severally liable to

Castlegate Credit Opportunities Fund, LLC (in its capacity as pre-petition lender, the “Prepetition

Junior Lender”) 4 under that certain Amended and Restated Credit Agreement, dated as of August

8, 2019 (the “Junior Credit Agreement and together with the associated documents, collectively,

the “Prepetition Junior Loan Documents”), without defense, counterclaim or offset of any kind,

for all of the Prepetition Junior Indebtedness (as defined below), including without limitation,

loans made by such Prepetition Junior Lender in the aggregate principal amount of not less than $

13,934,866.60 under the Junior Credit Agreement, plus accrued and unpaid interest, costs,

indemnification obligations and other charges or amounts, and out-of-pocket expenses (including

the reasonable and documented fees, charges and disbursements of counsel to the Prepetition

Junior Lender, incurred in connection with the enforcement or protection of such party’s rights),

plus all other amounts (including without limitation any contingent or unliquidated

indemnification obligations) that would constitute Obligations under the Junior Credit Agreement

(collectively, the “Prepetition Junior Indebtedness”). Pursuant to that certain Subordination and

Intercreditor Agreement, dated as of August 8, 2019, by and between the Prepetition Senior Lender


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    The equity ownership of the Prepetition Junior Lender is included amongst the equity ownership of Holdings.


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and the Prepetition Junior Lender, the liens and claims under the Senior Secured Note are senior

in all respects (including with respect to payment and priority) to the liens and claims under the

Junior Credit Agreement. The Prepetition Senior Lender and the Prepetition Junior Lenders are

referenced together herein as the “Prepetition Lenders” where applicable. The Prepetition Senior

Indebtedness and the Prepetition Junior Indebtedness are referenced together herein as the

“Prepetition Indebtedness” where applicable. The Prepetition Senior Loan Documents and the

Prepetition Junior Loan Documents are referenced together herein as the “Prepetition Loan

Documents” where applicable.

                  (iii)       Pursuant to the Senior Secured Note, the Junior Credit Agreement, and all

other security agreements, control agreements, or other instruments, agreements, or documents

executed and delivered by the Borrowers to create or grant to the Prepetition Lenders any lien on

any property as security for the Obligations or to perfect, assure, or preserve any lien or any rights

or remedies created thereby, including any other Collateral Documents (the “Prepetition Security

Instruments”), the Borrowers granted to the Prepetition Senior Lender, to secure the Prepetition

Senior Indebtedness, a first lien on and first priority security interest in all assets, whether then

owned or thereafter acquired by the Borrowers as security for such Prepetition Senior

Indebtedness, and to secure the Prepetition Junior Indebtedness, a second lien on and second

priority security interest in all assets, whether then owned or thereafter acquired by the Borrowers

as security for such Prepetition Junior Indebtedness (collectively, the “Prepetition Collateral” and

such liens in favor of the Prepetition Lenders, the “Prepetition Liens”).

                  (iv)        The Prepetition Indebtedness constitutes legal, valid, and binding

obligations of the Borrowers, including the Debtor, under the Prepetition Loan Documents,




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enforceable against them in accordance with the terms of the Prepetition Loan Documents (other

than in respect of the stay of enforcement arising from section 362 of the Bankruptcy Code).

                  (v)         No portion of the Prepetition Senior Loan Documents, the Prepetition

Senior Indebtedness, or any payment on account thereof is subject to avoidance, recharacterization,

recovery, reduction, subordination, disallowance, impairment, or any other challenges pursuant to

the Bankruptcy Code or applicable nonbankruptcy law; and the Debtor does not have, hereby

forever releases, and is forever barred from bringing any “claims” (as such term is defined in the

Bankruptcy Code), counterclaims, cross claims, causes of action, defenses, recoupment, or setoff

rights, whether arising under the Bankruptcy Code or otherwise, against the Prepetition Senior

Lender, solely in its capacity as the Prepetition Senior Lender, and not in any other capacity or in

respect to any other relationship the Prepetition Senior Lender may have, or have had, with or in

respect to the Borrowers, whether arising at law or in equity, including, without limitation, any

recharacterization, subordination, avoidance, or other claim arising under the Bankruptcy Code or

otherwise.

                  (vi)        The liens and security interests granted to, or for the benefit of, the

Prepetition Lenders, including with respect to the Cash Collateral, pursuant to the Prepetition

Security Instruments to secure the Prepetition Indebtedness constitute legal, valid, binding,

enforceable (other than in respect of the stay of enforcement arising from section 362 of the

Bankruptcy Code) and perfected first priority liens on and security interests in, as applicable, the

Prepetition Collateral, comprising substantially all of the assets of the Debtor and other Borrowers,

and are not subject to defense, counterclaim, avoidance, recharacterization, recovery,

disallowance, or subordination pursuant to the Bankruptcy Code or applicable nonbankruptcy law

or regulation by any person or entity, except solely insofar as such liens and security interests are



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subject to the DIP Liens and the Carve Out. The liens and security interests granted to, or for the

benefit of, the Prepetition Lenders, including with respect to the Cash Collateral, pursuant to the

Prepetition Loan Documents to secure the Prepetition Indebtedness shall remain in full force and

effect on a continuous basis, unimpaired, uninterrupted and undischarged, and shall maintain their

same perfected status and priority.

                  (vii)       The Debtor acknowledges and agrees that all of the Debtor’s cash, including

cash in its deposit accounts, wherever located, whether as original collateral or proceeds of other

Prepetition Collateral, or subject to setoff rights, constitutes “cash collateral” (as such term is

defined section 363(a) of the Bankruptcy Code) of the Prepetition Lenders.

                  (viii) As of the Petition Date, there were no liens on or security interests in the

Prepetition Collateral that were or are senior to or para passu with the Prepetition Liens.

                  (ix)        Neither the DIP Lender nor the Prepetition Senior Lender is a control person

or insider of the Debtor or any of its affiliates by virtue of entering into the DIP Term Sheet and

making any loans thereunder.

         G.       Findings Regarding the DIP Facility and Use of Cash Collateral.

                  (i)         Good cause has been shown for the entry of this Interim Order, including

immediate and irreparable harm the estate will suffer if relief is not immediately granted.

                  (ii)        The Debtor needs to obtain immediate access to the postpetition financing

under the DIP Facility and to use Cash Collateral to, among other things, protect and preserve the

assets of the Debtor’s estate and fund the administration of the Case. The immediate access of the

Debtor to sufficient liquidity through the use of Cash Collateral, incurrence of postpetition

financing under the DIP Facility, and other financial accommodations is vital to the preservation

and maintenance of the value of the Debtor’s estate and to achieve an orderly exit for the Debtor.



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                  (iii)       The Debtor is unable to obtain sufficient financing on more favorable terms

from sources other than the DIP Lender under the DIP Term Sheet and is unable to obtain adequate

unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as an administrative

expense. The Debtor is also unable to obtain secured credit allowable under sections 364(c)(1),

364(c)(2), and 364(c)(3) of the Bankruptcy Code without granting to the DIP Lender, subject

solely to the Carve Out as provided for herein, the DIP Liens and the DIP Superpriority Claims

and incurring the Adequate Protection Obligations (each as defined herein) under the terms and

conditions set forth in this Interim Order and in the DIP Term Sheet. The only source of secured

credit available to the Debtor, other than the use of Cash Collateral (which is de minimis), is the

DIP Facility. The Debtor requires both financing under the DIP Facility and the continued use of

Cash Collateral under the terms of this Interim Order to satisfy its postpetition liquidity needs.

                  (iv)        The DIP Lender is willing to provide the DIP Facility, and the Prepetition

Lenders are willing to consent to the use of Cash Collateral, subject to the terms and conditions

set forth in the DIP Documentation and the provisions of this Interim Order, as applicable, and

provided that the DIP Liens, the DIP Superpriority Claims, the Adequate Protection Superpriority

Claims, the Adequate Protection Obligations (each as defined herein), and other protections

granted by this Interim Order and the DIP Term Sheet are entitled to the protections of this Interim

Order and section 364(e) of the Bankruptcy Code, which is applicable to the DIP Facility and the

use of Cash Collateral approved by this Interim Order. The DIP Lender has acted in good faith in

agreeing to provide the DIP Facility approved by this Interim Order, as further evidenced by the

DIP Term Sheet, and the Prepetition Lenders have acted in good faith in consenting to the Debtor’s

use of Cash Collateral pursuant to the terms of this Interim Order, and their reliance on the

provisions of this Interim Order is in good faith.



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                  (v)         The DIP Term Sheet, and the DIP Facility provided for thereunder, and the

use of Cash Collateral, each as authorized hereunder, have been negotiated in good faith and at

arm’s-length among the Debtor, the other Borrowers, the DIP Lender, and the Prepetition Lenders,

respectively, and the terms of the DIP Facility and the use of Cash Collateral, respectively, are fair

and reasonable under the circumstances, reflect the Debtor’s exercise of prudent business judgment

consistent with its fiduciary duties, and are supported by reasonably equivalent value and fair

consideration. All of the obligations and the rights granted in this Interim Order to the DIP Lender,

including without limitation, the Initial Interim DIP Loan, including accrued and unpaid interest

thereon, indemnification obligations, and out-of-pocket fees and             expenses required to be

reimbursed (all of the foregoing collectively, the “DIP Obligations”), and the Adequate Protection

Obligations, are being extended or received, as applicable, by the DIP Lender, the Prepetition

Lenders, and their affiliates (and the successors and assigns of each of the foregoing) in good faith,

as that term is used in section 364(e) of the Bankruptcy Code, and shall be entitled to the full

protection of section 364(e) of the Bankruptcy Code in the event that this Interim Order or any

provision hereof is reversed or modified on appeal.

                  (vi)        The Debtor has requested entry of this Interim Order pursuant to

Bankruptcy Rules 4001(b)(1) and 4001(c)(1). The authorization granted herein on an interim basis

to use Cash Collateral, and to enter into the DIP Term Sheet, to borrow an aggregate initial amount

of up to $300,000 in new loans, plus interest, fees, and other expenses and amounts provided for

in the DIP Term Sheet (pending entry of the Final Order, solely for the purpose of making

“Operating Disbursements” as set forth in the Budget) (the “Initial Interim DIP Loan”), is

necessary to preserve the value of the Debtor and its estate. Absent granting the relief set forth in

this Interim Order, the Debtor’s estate will be immediately and irreparably harmed.



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Consummation of the DIP Facility and approval of the use of Cash Collateral in accordance with

this Interim Order and the DIP Term Sheet, as applicable, are therefore in the best interests of the

Debtor and its estate and creditors.

           NOW, THEREFORE, on the Motion of the Debtor and the record before this Court with

respect to the Motion, including the record made during the Interim Hearing, and good and

sufficient cause appearing therefor,

           IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

           1.       Objections Denied and Overruled. Except as otherwise expressly provided in this

Interim Order, and subject to the record of the Interim Hearing, any objections to the Motion with

respect to the entry of this Interim Order that have not been withdrawn, waived, or settled, and all

reservations of rights included therein, are hereby denied and overruled.

           2.       Authorization of the DIP Facility, the DIP Documentation, and the Roll-Up.5

                    (i)       The Debtor is hereby authorized to execute, issue, deliver, enter into, and

adopt, and to perform under, as the case may be, the DIP Documentation, including but not limited

to the DIP Term Sheet, and the DIP Documentation, including but not limited to the DIP Term

Sheet, is hereby approved.

                    (ii)      The Debtor is hereby authorized to borrow up to the Initial Interim DIP

Loan amount on an interim basis, prior to the entry by the Court of the Final Order, on the terms

and subject to the conditions, and limits set forth in this Interim Order and the DIP Term Sheet,

which borrowings may be used for all purposes permitted under the DIP Term Sheet, pursuant to

and subject to the Budget to the extent set forth in the DIP Term Sheet (and pending entry of the

Final Order, solely for the purpose of making “Operating Disbursements” as set forth in the


5
    Approval of the Roll-Up is subject to entry of the Final Order.


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Budget), including, without limitation, (a) to provide agreed liquidity for the Debtor and for

general corporate purposes, (b) subject to entry of the Final Order, to pay Adequate Protection

Obligations to the Prepetition Lenders, (c) subject to entry of the Final Order, to pay administrative

expenses approved by the Court for estate professionals, subject to the Budget, (d) subject to entry

of the Final Order, to pay any other fees, costs and expenses required under the DIP Term Sheet,

and (e) subject to entry of the Final Order, to pay such other expenses to which the DIP Lender

may consent in its sole discretion.

                  (iii)       The proceeds of any borrowing under the DIP Facility shall, until paid to

third parties in accordance with the Budget, be held by the Debtor only in a debtor-in-possession

account (satisfactory to the DIP Lender (any such account a “DIP Proceeds Account”)) over which

the DIP Lender holds a valid, binding, and enforceable first priority lien pursuant to this Interim

Order. No amounts provided to the Debtor pursuant to this Order shall be re-lent to the Debtor or

any other Borrower.

                  (iv)        Subject to entry of the Final Order, all Prepetition Senior Loans provided

under the Senior Secured Note and outstanding on the Petition Date shall be deemed “DIP

Obligations” under this Order with respect to the Debtor.6 Subject to further order of the Court,

the Debtor’s obligations under the Senior Secured Note are hereby deemed to be post-petition

obligations hereunder, on a cashless dollar-for-dollar basis, subject to the terms and conditions set

forth herein. Subject to entry of the Final Order, the deemed “roll-up” of the Prepetition Loans

under the Senior Secured Note into DIP Obligations shall be authorized as compensation for, in



6
  For the avoidance of doubt, except as set forth herein and in the DIP Term Sheet with respect to Holdings, nothing
herein or in the DIP Term Sheet is intended to or shall be deemed to affect or otherwise modify, amend, vitiate or
otherwise alter the obligations of the other Borrowers under the Prepetition Loan Documents or the Prepetition
Lenders’ rights with respect thereto provided, however, that Holdings also shall be liable for the new advances made
pursuant to the DIP Loan.


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consideration for, as a necessary inducement for, and on account of the agreement of the DIP

Lender to fund the DIP Term Sheet and not as adequate protection for, or otherwise on account of,

any Prepetition Senior Indebtedness; provided that solely in the event of a Challenge (in

compliance with paragraph 18 of this Interim Order) prior to the expiration of the Challenge Period

(each as defined below) and such Challenge results in a determination in a final, non- appealable

order of the Court that (i) some or all of the Prepetition Liens securing the Prepetition Senior

Indebtedness did not constitute valid or properly perfected liens on the Prepetition Collateral as of

the Petition Date, or (ii) some or all of the Prepetition Senior Indebtedness did not constitute valid

and binding obligations of the Debtor as of the Petition Date, the Court will fashion such remedy

as it deems appropriate.

                  (v)         Upon the closing of the DIP Facility pursuant to this Interim Order, the

security and pledge agreements, mortgages, deeds of trust and deposit account control agreements

that provide liens on and security interests in the real property and personal property assets of the

Debtor shall remain in full force and effect and shall be effective to provide liens on and security

interests in the DIP Collateral and shall constitute security for the DIP Facility for all purposes

hereunder.

                  (vi)        In furtherance of the foregoing and without further approval of this Court,

the Debtor hereby is authorized and has agreed to perform all acts, to make, execute, and deliver

all instruments and documents (including, without limitation, the execution or recordation of

security agreements, mortgages, pledges, and financing statements), and, without further

application to the Court, to promptly pay all fees, costs and expenses set forth in the DIP Term

Sheet, that may be reasonably required or necessary for the Debtor’s performance of its obligations

under the DIP Facility, including, without limitation:



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                              (a)    the execution, delivery, and performance of the DIP Documentation,

including, without limitation, the DIP Term Sheet and all related documents contemplated thereby,

including a DIP Loan promissory note if requested by DIP Lender;

                              (b)    the execution, delivery, and performance of one or more

amendments to, modifications of, or waivers relating to the DIP Term Sheet in such form as the

Debtor and the DIP Lender (or any portion thereof as provided in the DIP Term Sheet) may agree

(it being understood that no further approval of the Court shall be required for non-material

amendments to or waivers relating to the DIP Term Sheet (and, subject to and effective only upon

entry of this Interim Order, any fees paid in connection therewith) or modifications of the Budget);

and

                              (c)    the performance of all other acts required under or in connection

with the DIP Documentation.

                  (vii)       Upon entry of this Interim Order, the DIP Term Sheet shall constitute valid

and binding obligations of the Debtor and Holdings, enforceable against the Debtor (and where

applicable, Holdings) in accordance with the terms of the DIP Term Sheet and this Interim Order.

No obligation, payment, transfer, or grant of security interest under the DIP Term Sheet or this

Interim Order shall be stayed, restrained, voidable, or recoverable under the Bankruptcy Code or

any applicable law (including, without limitation, under section 502(d) of the Bankruptcy Code),

or be subject to any defense, reduction, setoff, recoupment, or counterclaim.

         3.       DIP Superpriority Claims. Pursuant to section 364(c)(1) of the Bankruptcy Code,

all of the DIP Obligations shall constitute allowed senior superpriority administrative expense

claims against the Debtor (without the need to file any proof of claim or request for payment of

administrative expense) with priority over any and all other administrative expenses, adequate



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protection claims, diminution claims (including all Adequate Protection Obligations) and all other

claims against the Debtor now existing or hereafter arising, of any kind or nature whatsoever,

including, without limitation, all administrative expenses of the kind specified in sections 503(b)

and 507(b) of the Bankruptcy Code, and over any and all other administrative expenses or other

claims arising under sections 105, 326, 328, 330, 331, 503(b), 506(c) (subject to and effective upon

entry of the Final Order), 507(a), 507(b), 546, 726, 1113, or 1114 of the Bankruptcy Code (the

“DIP Superpriority Claims”), which allowed claims shall for purposes of section 1129(a)(9)(A)

of the Bankruptcy Code shall be considered administrative expenses allowed under section 503(b)

of the Bankruptcy Code, and which shall be payable from and have recourse to all pre- and post-

petition property of the Debtor, and its estate and all proceeds thereof, including, without

limitation, subject only to and effective upon entry of the Final Order, all Avoidance Action

Proceeds (as defined below), subject only to the Carve Out.

         4.       Carve Out.

                  (i)         Carve Out. As used in this Interim Order, the “Carve Out” means, in all

instances subject to the category and aggregate limitations in the Budget, the sum of (a) all unpaid

and accrued fees required to be paid to the Clerk of the Bankruptcy Court and to the Office of the

United States Trustee under section 1930(a) of title 28 of the United States Code and section 3717

of title 31 of the United States Code; (b) all unpaid and accrued professional fees, as have been or

may be approved by the Bankruptcy Court, incurred at any time before the earlier of the occurrence

of an event of default as delineated in the DIP Term Sheet (an “Event of Default”) or the DIP

Maturity Date (as defined in the DIP Term Sheet), upon written notice provided by the DIP Lender

to counsel to the Debtor and the Committee (the “Termination Date”), up to the amounts set forth

for each professional in the Budget, by persons or firms retained by the Debtor (“Debtor



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Professionals”) and by the Committee (“Committee Professionals”), whose retention is approved

by the Bankruptcy Court pursuant to sections 327, 328 or 1103 of the Bankruptcy Code

(collectively, the “Professional Persons,” or the “Professionals” and the fees, costs and expenses

of Professional Persons, the “Professional Fees”), to the extent such Professional Fees are allowed

by the Bankruptcy Court at any time, whether before or after the Termination Date. The Carve

Out also shall include the professional fees of the Prepetition Lenders as set forth elsewhere herein,

up to the amount set forth in the Budget for same.

                  (ii)        For the avoidance of doubt and notwithstanding anything to the contrary in

this Interim Order or the DIP Facility, the Carve Out shall be senior to all liens and claims securing

the DIP Facility, the Adequate Protection Liens (as defined herein), the Adequate Protection

Superpriority Claims, and any and all other forms of adequate protection, liens, or claims securing

the DIP Obligations or any obligations under the Prepetition Loan Documents.

                  (iii)       No Obligation to Pay Allowed Professional Fees. Neither the DIP Lender

nor the Prepetition Lenders shall be responsible for the payment or reimbursement of any fees or

disbursements of any Debtor Professionals or Committee Professionals incurred in connection

with the Chapter 11 Case or any Successor Case under any chapter of the Bankruptcy Code.

Nothing in this Interim Order or otherwise shall be construed to obligate the DIP Lender or the

Prepetition Lenders, in any way, to pay compensation to, or to reimburse expenses of, any Debtor

Professional or Committee Professional or to guarantee that the Debtor has sufficient funds to pay

such compensation or reimbursement.

         5.       DIP Liens. As security for the DIP Obligations effective and perfected as of the

Petition Date and without the necessity of the execution by the Debtor (or recordation or other

filing) of mortgages, security agreements, control agreements, pledge agreements, financing



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statements, or other similar documents, or the possession or control by the DIP Lender of, or over,

any DIP Collateral, the following security interests and liens, hereby are granted by the Debtor to

the DIP Lender (all property of the Debtor identified in clauses (i), (ii), (iii), and (iv) below being

collectively referred to as the “DIP Collateral”), subject only to the Carve Out and the Permitted

Liens (all such liens on and security interests in the DIP Collateral granted to the DIP Lender

pursuant to this Interim Order and the DIP Term Sheet, the “DIP Liens”):

                  (i)         First Lien on Any Unencumbered Property. Pursuant to section 364(c)(2)

of the Bankruptcy Code, a valid, binding, continuing, enforceable, fully-perfected, first priority

senior security interest in and lien upon all prepetition and postpetition property of the Debtor

whether existing on the Petition Date or thereafter acquired, that, on or as of the Petition Date or

the date acquired (if acquired after the Petition Date) is not subject to any other valid, perfected,

and non-avoidable liens existing on the Petition date, if any (collectively, “Unencumbered

Property”), including, without limitation, (I) the DIP Proceeds Account and any cash of the

Debtors held therein and (II) any other unencumbered cash of the Debtor (wherever maintained),

in each of case (I) and (II), any investment of such cash, inventory, accounts receivable, other

rights to payment whether arising before or after the Petition Date, contracts, properties, plants,

equipment, general intangibles, documents, instruments, interests in leaseholds, real properties,

minerals, hydrocarbons and other inventory gathered or produced after the Petition Date, as-

extracted collateral (including any coal stockpiles or coal stored at mines), patents, copyrights,

trademarks, trade names, other intellectual property, equity interests, chattel paper, tax and related

assets (including any net operating or other losses), other general intangibles and any claims and

causes of action of the Debtor and all proceeds and products thereof; provided that before entry of

the Final Order, the DIP Collateral shall exclude any of the claims and causes of action of the



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Debtors arising under chapter 5 of the Bankruptcy Code (collectively, the “Avoidance Actions”);

provided, further, that upon entry of a Final Order, the proceeds of Avoidance Actions of the

Debtors shall constitute DIP Collateral (“Avoidance Action Proceeds”).

                  (ii)        Liens Senior to Prepetition Liens. Pursuant to section 364(d)(1) of the

Bankruptcy Code, a valid, binding, continuing, enforceable, fully-perfected, first priority senior

priming security interest in and lien upon all pre- and postpetition property of the Debtor and all

proceeds thereof (including, without limitation, Cash Collateral) that, on or as of the Petition Date

or the date acquired (if acquired after the Petition Date) was subject to the Prepetition Liens, except

that any lien granted to the Prepetition Junior Lender hereunder shall be junior in all respects to

the DIP Lien and the Prepetition Senior Secured Lien.

                  (iii)       Liens Senior to Certain Other Liens. The DIP Liens shall not be subject or

subordinate to (a) any lien or security interest that is avoided and preserved for the benefit of the

Debtor and its estate under section 551 of the Bankruptcy Code or (b) any liens or security interests

heretofore or hereinafter granted in the chapter 11 Case or any Successor Case (as defined herein)

or pre-petition, including, without limitation, any liens or security interests granted in favor of any

federal, state, municipal, or other governmental unit, commission, board, or court for any liability

of the Debtor, except for the Permitted Liens.

         The DIP Liens shall be valid and enforceable against any trustee appointed in the Chapter

11 Case, upon the conversion of the Chapter 11 Case to a case under chapter 7 of the Bankruptcy

Code or in any other proceedings related to any of the foregoing (such case or proceedings,

“Successor Cases”), and/or upon the dismissal of the Chapter 11 Case.




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         6.       Protection of the DIP Lender’s Rights.

                  (i)         The automatic stay provisions of section 362 of the Bankruptcy Code are

vacated and modified to the extent necessary to permit the DIP Lender to exercise, upon the earlier

of (x) the Termination Date and (y) five (5) business days’ written notice (the “Remedies Notice

Period”) provided by the DIP Lender to the U.S. Trustee, the Debtor, and the Committee through

their respective counsel, of the occurrence and continuance of any Event of Default under the DIP

Term Sheet, all rights and remedies against the DIP Collateral provided for in the DIP Term Sheet

and this Interim Order, including to enforce their lien on the DIP Proceeds Account); provided

that, during the Remedies Notice Period, (a) the Debtor may use proceeds of the DIP Facility or

Cash Collateral to (i) fund operations in accordance with the Budget, and (ii) fund the Carve-Out;

and (b) the Debtor, the DIP Lender, and the Committee shall be entitled to an emergency hearing

before the Court for the purpose of contesting whether an Event of Default has occurred, seeking

the non-consensual use of Cash Collateral subject to the Carve Out, and/or seeking an extension

of the Remedies Notice Period.

                  (ii)        Subject to and effective upon entry of the Final Order, in no event shall the

DIP Lender be subject to the equitable doctrine of “marshaling” or any similar doctrine with

respect to its liens and security interests upon and in the DIP Collateral. Subject to and effective

upon entry of the Final Order, in no event shall the Prepetition Lenders be subject to the equitable

doctrine of “marshaling” or any similar doctrine with respect to its respective liens and security

interests upon and in the Prepetition Collateral.

                  (iii)       The DIP Lender’s delay or failure to exercise rights and remedies under the

DIP Term Sheet or this Interim Order shall not constitute a waiver of the DIP Lender’s rights




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hereunder, thereunder, or otherwise, unless any such waiver is pursuant to a written instrument

executed in accordance with the terms of the DIP Term Sheet.

                  (iv)        No rights, protections, or remedies of the DIP Lender granted by the

provisions of this Interim Order or the DIP Term Sheet shall be limited, modified, or impaired in

any way by the provision of adequate protection to any party.

         7.       Limitation on Charging Expenses Against Collateral. Subject to and effective

upon entry of the Final Order, except to the extent of the Carve Out, no claim may be asserted

against the DIP Lender or the Prepetition Senior Lender to (i) charge any expenses of

administration of the Case or any future proceeding that may result therefrom, including

liquidation in bankruptcy or other proceedings under the Bankruptcy Code, against the DIP

Collateral or the Prepetition Collateral or (ii) recover such expenses from the DIP Collateral or the

Prepetition Collateral pursuant to section 506(c) of the Bankruptcy Code or any similar principle

of law, in each case without the prior written consent of the DIP Lender or the Prepetition Senior

Lender and no such consent shall be implied from any other action, inaction, or acquiescence by

the DIP Lender or the Prepetition Senior Lender.

         8.       Limitations under Section 552(b) of the Bankruptcy Code. The Prepetition

Lenders shall be entitled to all of the rights and benefits of section 552(b) of the Bankruptcy Code,

and, subject to and effective upon entry of the Final Order, the “equities of the case” exception

under section 552(b) of the Bankruptcy Code shall not apply to the Prepetition Lenders with

respect to (i) proceeds, products, offspring or profits of any of the Prepetition Collateral or any of




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the DIP Collateral or (ii) the extension of the Adequate Protection Liens to cover proceeds of the

Prepetition Collateral.

         9.       Payments Free and Clear. Any and all payments or proceeds remitted to the DIP

Lender, or (subject to and effective upon the expiration of the Challenge Period) to the Prepetition

Senior Lender, pursuant to the provisions of this Interim Order, or subject to any subsequent order

of this Court, shall be received free and clear of any claim, charge, assessment or other liability.

         10.      Use of Cash Collateral. The Debtor is hereby authorized, subject to the terms and

conditions of the DIP Term Sheet and this Interim Order, to use all Cash Collateral, including,

without limitation, any Cash Collateral on which the DIP Lender or the Prepetition Lenders hold

a lien to the extent permitted by the Budget; provided, however, that no Cash Collateral shall be

used in a manner that would violate paragraph 19 hereof. The Debtor’s right to use Cash Collateral

shall be subject in all respects to the Budget, and such right shall terminate automatically upon the

earlier of (x) the expiration of this Interim Order and (y) five (5) business days’ written notice

provided by the Prepetition Senior Lender (or, if the Prepetition Senior Lender and the DIP Lender

have each been indefeasibly paid in full in cash, the Prepetition Junior Lender) to the U.S. Trustee,

the Debtor, and the Committee through their respective counsel, of the occurrence and continuance

of any Event of Default under the DIP Term Sheet or this Interim Order.

         11.      Failure to Provide Notice of an Event of Default. Notwithstanding the foregoing,

the Debtor’s right to use Cash Collateral shall immediately terminate (without notice from the DIP

Lender or the Prepetition Lenders) at the time that the Debtor has actual knowledge of an Event of




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Default if the Debtor fails to promptly notify the DIP Lender, the Prepetition Lenders, and their

respective counsel of such Event of Default in accordance with paragraph 10.

         12.      Budget. The Debtor has provided to the DIP Lender a 13 week cash flow projection

(as may be modified from time to time with the consent of the DIP Lender, and consistent with

and subject to the terms of the DIP Term Sheet and the terms hereof, the “Budget”), which such

Budget is attached hereto as Exhibit 2. All borrowings under the DIP Facility and all use of Cash

Collateral shall be in compliance with the Budget, and the Debtor shall not use any portion of the

proceeds of the DIP Facility or any Cash Collateral, or accrue any liabilities, directly or indirectly,

in excess of the amounts set forth in the Budget on a line item and aggregate basis. The Budget

may be updated and amended from time to time with the express prior written consent of the DIP

Lender, provided that (i) such updated or amended Budget shall be provided promptly by Debtor’s

counsel to counsel for any Committee and to counsel for Holdings, (ii) the Debtor shall not make

any payments on account of any prepetition claim except in accordance with the Budget or as

otherwise permitted or required by an order of this Court, and (iii) the Debtor shall be required

always to comply with the Budget.

         13.      Prepayments of the DIP Term Sheet. The Debtor may voluntarily prepay the

principal of the DIP Loan, in whole or in part, in accordance with the DIP Term Sheet. The Debtor

shall be obligated to promptly prepay the principal of the DIP Loan with the proceeds of the

collection of any receivables, subject only to the Carve-Out (to the extent not already expended)

and upon such repayment in full, the DIP Facility shall terminate.

         14.      Adequate Protection. The Prepetition Lenders are entitled, pursuant to sections

361, 363(e), and 364(d)(1) of the Bankruptcy Code, to adequate protection of their respective

interests in the Prepetition Collateral, including the Cash Collateral, for and to the extent of any



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diminution in the value of the Prepetition Lenders’ interests in the Prepetition Collateral during

the Case, as provided in the Bankruptcy Code (any such diminution in value, “Diminution in

Value”). As adequate protection, the Prepetition Lenders are hereby granted the following

adequate protection to the extent of any Diminution in Value (collectively, the “Adequate

Protection Obligations”):

                  (i)         Adequate Protection Liens. Effective and perfected as of the Petition Date

and without the necessity of the execution by the Debtor of mortgages, security agreements, pledge

agreements, financing statements, or other agreements, solely for the benefit of the Prepetition

Lenders, a replacement security interest in and lien upon all of the DIP Collateral to the extent of

any Diminution in Value, subject and subordinate only to the DIP Liens, the Carve Out, and the

Permitted Liens (the “Adequate Protection Liens”). For the avoidance of doubt, the Adequate

Protection Liens of the Prepetition Junior Lender shall be junior and subordinate to the Adequate

Protection Liens and the prepetition liens of the Prepetition Senior Lender.

                  (ii)        Adequate Protection Superpriority Claims. Allowed superpriority claims,

solely for the benefit of the Prepetition Lenders (the “Adequate Protection Superpriority Claims”),

with priority over any and all other administrative expenses now existing or hereafter arising, of

any kind whatsoever, including, without limitation, all other administrative expenses of the kind

specified in sections 503(b) and 507(b) of the Bankruptcy Code, and over any and all other

administrative expenses or other claims arising under sections 105, 326, 328, 330, 331, 503(b),

506(c) (subject to entry of the Final Order), 507(a), 507(b), 546, 726, 1113, or 1114 of the

Bankruptcy Code, which allowed claims shall for purposes of section 1129(a)(9)(A) of the

Bankruptcy Code be considered administrative expenses allowed under section 503(b) of the

Bankruptcy Code, and which shall be payable from and have recourse to all prepetition and



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postpetition property of the Debtor and all proceeds thereof; provided, however, that the Adequate

Protection Superpriority Claims shall be subordinate only to the DIP Superpriority Claims and the

Carve Out and, pending entry of the Final Order, shall not be payable from Avoidance Action

Proceeds. For the avoidance of doubt, the Adequate Protection Superpriority Claims of the

Prepetition Junior Lender shall be junior and subordinate to the Adequate Protection Superpriority

Claims and the prepetition claims of the Prepetition Senior Lender

                  (iii)       Prepetition Senior Lender’s Fees and Expenses. The Debtor is authorized

and directed to pay (y) all accrued and unpaid fees and disbursements owing to the Prepetition

Senior Lender under the Senior Secured Note and incurred prior to the Petition Date, including

fees and expenses of counsel to the Prepetition Senior Lender; and (z) current cash payments of

all fees and out-of-pocket disbursements of (1) Steptoe & Johnson LLP and Finn Dixon & Herling

LLP, as counsel to the Prepetition Senior Lender, (2) any local counsel to the Prepetition Senior

Lender, and (3) such other consultants and advisors as may be retained or may have been retained

from time to time by the Prepetition Senior Lender, in its sole discretion. Payment shall be made

in accordance with the Budget. but the accrual of Prepetition Senior Lender fees and expenses, and

the obligation of the Debtor and Holdings to pay the same, shall not be limited by the amount set

forth in the Budget.

                  (iv)        Reporting. Receipt of financial and all other reporting, including weekly

updates of the Budget. The same weekly Budget reporting shall be provided by the Debtors

contemporaneously to the Committee.

         15.      Reservation of Rights of Prepetition Lenders. Under the circumstances, the Court

finds that the adequate protection provided in this Interim Order is reasonable and sufficient to

protect the interests of the Prepetition Lenders. However, the Prepetition Lenders may request



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further or different adequate protection, and the Debtor or any other party may contest any such

request; provided that any such further or different adequate protection shall at all times be

subordinate and junior to the claims and liens of the DIP Lender granted under this Interim Order,

the DIP Term Sheet, and to the Carve Out, and the lien priority and payment subordination of the

Prepetition Junior Lender relative to the Prepetition Senior Lender shall be preserved in all

respects. Except as expressly provided herein, nothing contained in this Interim Order (including,

without limitation, the authorization of the use of any Cash Collateral) shall impair or modify any

rights, claims, or defenses available in law or equity to the Prepetition Lenders or the DIP Lender.

         16.      Perfection of DIP Liens and Adequate Protection Liens.

                  (i)         The DIP Lender is hereby authorized, but not required, to file or record

financing statements, intellectual property filings, mortgages, notices of lien, or similar

instruments in any jurisdiction, take possession of or control over, or take any other action, in each

case, to validate and perfect the liens and security interests granted to them hereunder and subject

to the priorities set forth herein. Whether or not the DIP Lender chooses to file such financing

statements, intellectual property filings, mortgages, notices of lien, or similar instruments, take

possession of or control over, or otherwise confirm perfection of the liens and security interests

granted to it under this Interim Order, such liens and security interests shall be deemed valid,

perfected, allowed, enforceable, non-avoidable, and not subject to challenge, dispute, or

subordination, as of the Petition Date. The Prepetition Lenders, without any further consent of

any party, are authorized to take, execute, deliver, and file such instruments (in each case without

representation or warranty of any kind) to enable the Prepetition Lenders to further validate,

perfect, preserve, and enforce the DIP Liens and for the Prepetition Lenders to further validate,

perfect, preserve, and enforce the Adequate Protection Liens. The Debtor shall execute and deliver



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to the DIP Lender and/or the Prepetition Lenders all such agreements, financing statements,

instruments, and other documents as the DIP Lender and/or the Prepetition Lenders may

reasonably request to more fully evidence, confirm, validate, perfect, preserve, and enforce the

DIP Liens and the Adequate Protection Liens. All such documents will be deemed to have been

recorded and filed as of the Petition Date.

                  (ii)        A certified copy of this Interim Order may, in the discretion of the DIP

Lender or the Prepetition Lenders be filed with or recorded in filing or recording offices in addition

to or in lieu of such financing statements, mortgages, notices of lien or similar instruments, and all

filing offices are hereby authorized to accept such certified copy of the Interim Order for filing

and recording. For the avoidance of doubt, the automatic stay of section 362(a) of the Bankruptcy

Code shall be, and hereby is, modified to the extent necessary to permit the DIP Lender and the

Prepetition Lenders to take all actions, as applicable, referenced in this subparagraph (ii) and in

the immediately preceding subparagraph (i).

                  (iii)       Subject to and effective only upon entry of the Final Order, any provision

of any lease or other license, contract or other agreement that requires (a) the consent or approval

of one or more landlords or other parties, or (b) the payment of any fees or obligations to any

governmental entity, in order for the Debtor to pledge, grant, sell, assign, or otherwise transfer any

such leasehold interest, or the proceeds thereof, or other postpetition collateral related thereto, is

hereby deemed to be inconsistent with the applicable provisions of the Bankruptcy Code. Any

such provision shall have no force and effect with respect to the transactions granting postpetition

liens on (x) such leasehold interest or (y) the proceeds of any assignment and/or sale thereof by

the Debtor in favor of the DIP Lender or the Prepetition Lenders in accordance with the terms of

the DIP Term Sheet or this Interim Order.



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         17.      Preservation of Rights Granted Under the Interim Order.

                  (i)         Except as expressly provided herein and subject to the Carve Out, (a) no

claim or lien having a priority superior to or pari passu with those granted by this Interim Order

to the DIP Lender or the Prepetition Lenders, respectively, shall be granted or allowed while any

portion of the DIP Facility or the commitments thereunder or the DIP Obligations or the Adequate

Protection Obligations remain outstanding, and (b) the DIP Liens and the Adequate Protection

Liens shall not be (1) subject or junior to any lien or security interest that is avoided and preserved

for the benefit of the Debtor’s estate under section 551 of the Bankruptcy Code or (2) subordinate

to or made pari passu with any other lien or security interest, whether under section 364 of the

Bankruptcy Code or otherwise.

                  (ii)        Unless all DIP Obligations shall have been indefeasibly paid in full in cash

in accordance with the DIP Term Sheet and the Adequate Protection Obligations shall have been

paid in full, the Debtor shall not assert, file or seek, or consent to the filing or the assertion of or

joinder in, and it shall constitute an Event of Default under the DIP Term Sheet and terminate the

right of the Debtor to use any and all Cash Collateral or the proceeds of the DIP Term Sheet if the

Debtor asserts, files or seeks, or consents to the filing or the assertion of or joinder in, or if there

is entered, without the prior written consent of the DIP Lender and the Prepetition Lenders (a) any

reversal, modification, amendment, stay, or vacatur of this Interim Order; (b) an order dismissing

the Case under sections 105, 305, or 1112 of the Bankruptcy Code or otherwise; (c) an order

converting the Case to a case under chapter 7 of the Bankruptcy Code; (d) an order appointing a

chapter 11 trustee in the Case; or (e) an order appointing an examiner with enlarged powers beyond

those set forth in sections 1104(d) and 1106(a)(3) and (4) of the Bankruptcy Code in the Case. If

an order dismissing the Case under section 1112 of the Bankruptcy Code or otherwise is at any



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time entered, such order shall provide (in accordance with sections 105 and 349 of the Bankruptcy

Code) that (x) the DIP Superpriority Claims, Adequate Protection Superpriority Claims, and other

administrative claims granted under this Interim Order, the DIP Liens, and the Adequate Protection

Liens granted to the DIP Lender and the Prepetition Lenders pursuant to this Interim Order shall

continue in full force and effect and shall maintain their priorities as provided in this Interim Order

until all of the DIP Obligations and the Adequate Protection Obligations shall have been paid and

satisfied in full (and that such DIP Superpriority Claims, Adequate Protection Superpriority

Claims, the other administrative claims granted under this Interim Order, the DIP Liens, and the

Adequate Protection Liens shall, notwithstanding such dismissal, remain binding on all parties in

interest) and (y) the Court shall retain jurisdiction notwithstanding such dismissal, for the purposes

of enforcing the claims, liens, and security interests referred to in clause (x) above.

                  (iii)       If any or all of the provisions of this Interim Order are hereafter reversed,

modified, vacated, or stayed, such reversal, stay, modification, or vacatur shall not affect (a) the

validity, priority, or enforceability of any DIP Obligations or the Adequate Protection Obligations

incurred prior to the actual receipt of written notice by the DIP Lender or the Prepetition Lenders,

as applicable, of the effective date of such reversal, stay, modification, or vacatur or (b) the

validity, priority, or enforceability of any lien or priority authorized or created hereby or pursuant

to the DIP Term Sheet with respect to any DIP Obligations or Adequate Protection Obligations.

Notwithstanding any such reversal, stay, modification, or vacatur, any use of Cash Collateral, any

DIP Obligations or any Adequate Protection Obligations incurred by the Debtor to the DIP Lender

and/or the Prepetition Lenders, as the case may be, prior to the actual receipt of written notice by

the DIP Lender and/or the Prepetition Lenders, as the case may be, of the effective date of such

reversal, stay, modification, or vacatur shall be governed in all respects by the original provisions



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of this Interim Order, and the DIP Lender and the Prepetition Lenders shall be entitled to the

protection of section 364(e) of the Bankruptcy Code to the maximum extent possible, this Interim

Order, and pursuant to the DIP Term Sheet with respect to all such uses of Cash Collateral and

proceeds of the DIP Facility, all DIP Obligations and all Adequate Protection Obligations.

                  (iv)        Except as expressly provided in this Interim Order or in the DIP Term Sheet,

the DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens, the Adequate

Protection Superpriority Claims, and all other rights and remedies of the DIP Lender and the

Prepetition Lenders granted by the provisions of this Interim Order and the DIP Term Sheet shall

survive, and shall not be modified, impaired, or discharged by any subsequent order, including (a)

the entry of an order converting the Case to a case under chapter 7 of the Bankruptcy Code,

dismissing the Case, (b) the entry of an order approving the sale of any DIP Collateral pursuant to

section 363(b) of the Bankruptcy Code (except to the extent permitted by the DIP Term Sheet or

otherwise approved by the DIP Lender), (c) the entry of an order confirming a plan of

reorganization in the Case, and, pursuant to section 1141(d)(4) of the Bankruptcy Code, the Debtor

has waived any discharge as to any remaining DIP Obligations and Adequate Protection

Obligations, or (d) any other act or omission. The terms and provisions of this Interim Order and

the DIP Term Sheet shall continue in the Case, in any Successor Case thereto, in any superseding

chapter 7 cases under the Bankruptcy Code, and the DIP Liens, the Adequate Protection Liens, the

Adequate Protection Superpriority Claims, the DIP Superpriority Claims and all other

administrative claims granted pursuant to this Interim Order, the Adequate Protection Obligations,

and all other rights and remedies of the DIP Lender and the Prepetition Lenders granted by the

provisions of this Interim Order and the DIP Term Sheet shall continue in full force and effect




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until the DIP Obligations and the Adequate Protection Obligations are indefeasibly paid in full in

cash.

         18.      Effect of Stipulations on Third Parties. The stipulations and admissions contained

in this Interim Order, including, without limitation, in paragraph F hereof, shall be binding in all

circumstances upon the Debtor and any successor thereto (including, without limitation, any

chapter 7 or chapter 11 trustee appointed or elected for the Debtor), the Debtor’s estate, the other

Borrowers, and all parties in interest, including, without limitation, any committee (including the

Committee) or any other person or entity acting on behalf of the Debtor, unless and solely to the

extent that (i) a properly authorized adversary proceeding or contested matter (subject to the

limitations contained herein, including, inter alia, in paragraph 19) has been commenced by the

Committee or any other party in interest with requisite standing other than the Debtor (or if the

Case is converted to a case under chapter 7 prior to the expiration of the Challenge Period (as

defined herein), the chapter 7 trustee in such successor case) (a) challenging the validity,

enforceability, priority, or extent of the Prepetition Indebtedness, the Prepetition Loan Documents,

or the Prepetition Lenders’ liens on the Prepetition Collateral or (b) otherwise asserting or

prosecuting any action for preferences, fraudulent conveyances, other avoidance power claims,

subordination, recharacterization, or any other claims, counterclaims, or causes of action,

objections, contests, or defenses (collectively, “Claims and Defenses”) against the Prepetition

Lenders or any of their respective affiliates, representatives, attorneys, or advisors in connection

with matters related to the Prepetition Indebtedness, the Prepetition Loan Documents, the

Prepetition Collateral, or the Prepetition Lenders’ liens on the Prepetition Collateral, as applicable

(such adversary proceeding or Claims and Defenses, a “Challenge”), by the earlier of (1) in the

case of the Committee, by no later than the date that is sixty (60) days after the date that notice of



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the formation of a Committee appointed under section 1102 of the Bankruptcy Code in the Case

is filed on the docket of the Case (but not to exceed seventy five (75) days from the Petition Date),

(2) with respect to other parties in interest with requisite standing other than the Debtor or the

Committee, by no later than the date that is seventy-five (75) days after the Petition Date, and (3)

or as otherwise ordered by the Court (such time period established by the earlier of clauses (1),

(2), and (3) above, or such later date as has been agreed to, in writing, by the applicable Prepetition

Lender in its sole discretion, the “Challenge Period”); provided that if the chapter 11 case is

converted to a case under chapter 7 of the Bankruptcy Code, the chapter 7 trustee shall have until

the later of (x) the remaining Challenge Period and (y) 30 days from the date of such conversion

to bring any Challenges; and (ii) there is a final order in favor of the plaintiff sustaining any such

Challenge in any such properly authorized and timely filed adversary proceeding; provided that,

as to the Debtor, all such Claims and Defenses are hereby irrevocably waived and relinquished as

of the Petition Date. For the avoidance of doubt, any trustee appointed or elected in this chapter

11 case shall, until the expiration of the Challenge Period, and thereafter for the duration of any

adversary proceeding or contested matter commenced pursuant to this paragraph (whether

commenced by such trustee or commenced by any other party in interest on behalf of the Debtor’s

estate), be deemed to be a party other than the Debtors and shall not, for purposes of such adversary

proceeding or contested matter, be bound by the acknowledgments, admissions, confirmations and

stipulations of the Debtors in this Interim Order. The filing of a motion seeking standing to file a

Challenge during the Challenge Period, which attaches a proposed Challenge, shall extend the

Challenge Period with respect to that party and the Committee until two (2) business days after the

Court approves the standing motion, or such other time period ordered by the Court in approving

the standing motion. If no such properly authorized adversary proceeding or contested matter is



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timely filed, then (x) to the extent not theretofore indefeasibly repaid, the Prepetition Indebtedness

and all related obligations of the Debtor shall constitute allowed claims not subject to counterclaim,

setoff, recoupment, subordination, recharacterization, defense, or avoidance, for all purposes, in

the Case and any subsequent chapter 7 case, (y) the Prepetition Lenders’ liens on the Prepetition

Collateral shall be deemed to have been, as of the Petition Date, and to be legal, valid, binding,

and perfected liens not subject to defense, counterclaim, recharacterization, subordination, or

avoidance, and (z) the Prepetition Indebtedness, the Prepetition Loan Documents, and the liens of

the Prepetition Lenders on the Prepetition Collateral shall not be subject to any other or further

challenge by the Debtor, any committee, or any party in interest, including, without limitation, any

successor thereto (including, without limitation, any estate representative or a chapter 7 or chapter

11 trustee appointed or elected for the Debtor with respect thereto). If any such properly authorized

adversary proceeding or contested matter is timely filed, the stipulations and admissions contained

in paragraph F hereof shall nonetheless remain binding and preclusive (as provided in the second

sentence of this paragraph) on any committee, whether official, ad hoc, or other (including the

Committee), and any other person or entity, except to the extent that any such findings and

admissions were expressly and successfully challenged in such properly authorized and timely

filed adversary proceeding. Nothing in this Interim Order vests or confers on any Person (as

defined in the Bankruptcy Code), including any committee (including the Committee), standing or

authority to pursue any cause of action belonging to the Debtor or its estate, including, without

limitation, Claims and Defenses with respect to the Loans, the Prepetition Indebtedness, the

Prepetition Loan Documents, or the Prepetition Lenders’ liens on the Prepetition Collateral.

Except as expressly provided in this Interim Order, the rights and remedies of the Prepetition

Lenders granted by the provisions of this Interim Order shall (x) survive and shall not be modified



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or affected by the entry of an order converting the Case to a case under chapter 7, dismissing the

Case, or by any other act or omission, and (y) continue in the Case or in any successor case in full

force and effect.

         19.      Limitation on Use of Financing Proceeds and Collateral.             Notwithstanding

anything to the contrary herein (except for the last sentence of this paragraph 19) or in any other

order by this Court, none of the proceeds of the DIP Term Sheet and none of the DIP Obligations

(which, for the avoidance of doubt, shall include the Roll-Up), the Cash Collateral, the Prepetition

Collateral, the DIP Collateral, or the Carve Out may be used for the following purposes, including

any fees or expenses incurred by any professional in connection therewith: (i) an assertion or

joinder in (but excluding any investigation into) any claim, counter-claim, action, proceeding,

application, motion, defense, or other contested matter seeking any order, judgment, determination

or similar relief (a) challenging the legality, validity, priority, perfection, or enforceability of any

amount due under the DIP Term Sheet, the Prepetition Indebtedness, or the Prepetition Loan

Documents or the liens, security interests, or claims granted under this Interim Order, the DIP

Term Sheet, or the Prepetition Loan Documents; (b) invalidating, setting aside, recharacterizing,

avoiding, or subordinating in whole or in part any amount due under the DIP Term Sheet, the

Prepetition Indebtedness, or the Prepetition Loan Documents or the liens, security interests, or

claims granted under this Interim Order, the DIP Term Sheet, or the Prepetition Loan Documents;

(c) preventing, hindering, or delaying the assertion or enforcement by either of the DIP Lender or

the Prepetition Lenders of any of their respective liens, claims, rights, or security interests or

realization upon the Prepetition Collateral, the DIP Collateral, the DIP Liens, the Obligations, or

the DIP Obligations; or (d) seeking to modify any of the rights granted to either of the DIP Lender

or the Prepetition Lenders hereunder or under the DIP Term Sheet or the Prepetition Loan



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Documents, in each of the foregoing cases without such parties’ prior written consent; (ii) the

commencement or prosecution of any action or proceeding of any claims, causes or action, or

defenses against either of the DIP Lender or the Prepetition Lenders or any of their respective

officers, directors, employees, agents, attorneys, affiliates, assigns, or successors, including,

without limitation, any attempt to recover or avoid any claim or interest from either the DIP Lender

or the Prepetition Lenders under chapter 5 of the Bankruptcy Code; or (iii) selling or otherwise

disposing of any DIP Collateral, using or seeking to use any insurance proceeds, or incurring any

indebtedness not permitted under the DIP Term Sheet or without the DIP Lender’s express prior

written consent. Nothing herein shall be construed as consent to the allowance of any professional

fees of the Debtor or any Committee or shall affect the right of the DIP Lender, the Prepetition

Lenders, or other parties in interest to object to the allowance of such fees and expenses.

         20.      Sales of Collateral; Right to Credit Bid. Subject to and effective upon entry of the

Final Order, the DIP Lender (subject to the rights, claims, and security interests of the Prepetition

Lenders with respect to any DIP Collateral that also constitutes Prepetition Collateral or is

collateral subject to the Adequate Protection Liens) shall have the right to credit bid the DIP

Obligations and the Prepetition Senior Obligations in connection with any sale of the DIP

Collateral or Prepetition Collateral in which such parties hold a security interest conducted

pursuant to a plan of reorganization subject to confirmation under section 1129(b)(2)(A)(ii)-(iii)

of the Bankruptcy Code or pursuant to the provisions of section 363 of the Bankruptcy Code. No

sale of any DIP Collateral or Prepetition Collateral shall constitute a waiver by the DIP Lender or

the Prepetition Lenders of any deficiency claim under any applicable law, regardless of whether




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the DIP Lender or either Prepetition Lender consents to or opposes such sale and regardless of

whether the DIP Obligations are credit bid in connection with such sale.

         21.      Insurance. GarMark SBIC Fund II, L.P, as the DIP Lender, shall be deemed to be

the loss payee or additional insured under the Debtor’s applicable insurance policies, shall act in

such capacities, and, subject to the terms of the DIP Term Sheet, shall distribute any proceeds

recovered or received in respect of any such insurance policies, first, to the payment in full of the

DIP Obligations, second, to the payment of the Adequate Protection Obligations owed to the

Prepetition Senior Lender, and third, to the payment of the Prepetition Senior Indebtedness.

         22.      Proofs of Claim. The Prepetition Lenders shall not be required to file proofs of

claim in the Case or Successor Case in respect of any claims arising under or related to Prepetition

Indebtedness or the Prepetition Loan Documents. The Debtor’s stipulations and admissions

contained in this Interim Order shall be deemed to constitute timely proofs of claim for the

Prepetition Lenders on account of their respective Prepetition Indebtedness upon approval of this

Interim Order, and the Prepetition Lenders shall be treated under section 502(a) of the Bankruptcy

Code as if the Prepetition Lenders have timely filed a proof of claim. Nothing in this paragraph

shall waive, alter, or modify the Prepetition Lenders’ right to file, amend, and/or supplement, in

their sole discretion, proofs of claim in the Case or Successor Case for any claim allowed herein.

         23.      Modifications of DIP Term Sheet. Without further order of the Court, the Debtor

and the DIP Lender are hereby authorized to implement, in accordance with the terms of the DIP

Term Sheet, any modifications to the Budget, any extension of the maturity subject to the

conditions set forth in the DIP Term Sheet, non-material modifications of the DIP Term Sheet (that

do not shorten the maturity of the extensions of credit thereunder, increase the commitments

thereunder, or otherwise do not materially change the terms of the DIP Term Sheet in a manner



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adverse to the interests of the Debtor) or waivers with respect to the DIP Term Sheet; provided,

however, any material modification or amendment to the DIP Term Sheet not expressly authorized

hereby or pursuant to the DIP Term Sheet shall be subject to court approval after notice and a

hearing.

         24.      Other Borrowers under the Senior Secured Note and Junior Credit Agreement.

Notwithstanding anything herein or in the DIP Term Sheet to the contrary, nothing herein or in the

DIP Term Sheet does or shall be deemed to alter, amend, modify or otherwise change the duties

and obligations of the Borrowers (other than the Debtor and Holdings) under the Senior Secured

Note or the Junior Credit Agreement, or the rights of the Prepetition Lenders thereunder, including

but not limited to the right to exercise all remedies in connection therewith.

         25.      Order Governs. Until such time as an amended interim order or Final Order shall

have been entered, the DIP Term Sheet attached hereto as Exhibit 1, which is hereby adopted by

reference and incorporated herein, and this Interim Order shall govern the financial and credit

accommodations to be provided to the Debtor by the DIP Lender; provided that in the event of any

inconsistency between the provisions of the DIP Term Sheet and this Interim Order, the provisions

of this Interim Order shall govern.

         26.      Binding Effect; Successors and Assigns. The DIP Term Sheet and the provisions

of this Interim Order, including all findings herein, shall be binding upon all parties in interest in

the Cases, including, without limitation, each of the DIP Lender and the Prepetition Lenders, any

committee (including the Committee) appointed in the Case, and the Debtor and their respective

successors and assigns (including any chapter 7 or chapter 11 trustee hereinafter appointed or

elected for the estate of the Debtor) and shall inure to the benefit of the DIP Lender and the

Prepetition Lenders, any committee (including the Committee) appointed in the Case, and the



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Debtor and its respective successors and assigns; provided, however, that the DIP Lender shall not

have any obligation to extend any financing to any chapter 7 trustee or similar responsible person

appointed for the estate of the Debtor. The DIP Lender shall not be deemed to be in control of the

operations of the Debtor or to be acting as a “responsible person” or “owner or operator” with

respect to the operation or management of the Debtor by virtue of entering into DIP Term Sheet

and making the New Loans thereunder (as such terms, or any similar terms, are used in the United

States Comprehensive Environmental Response, Compensation and Liability Act, 42 U.S.C. §§

9601 et seq., as amended, the federal Surface Mining Control and Reclamation Act of 1977, 30

U.S.C. § 1201 et seq. and any similar state statute).

         27.      DIP Fees and Expenses. Subject to paragraph 28 hereof, the Debtor shall pay,

without the need for the DIP Lender to file retention motions or fee applications, or to provide

notice to any party except as required under paragraph 28 hereof, all reasonable and documented

out-of-pocket expenses incurred by the DIP Lender in connection herewith, including (1) the

reasonable and documented out-of-pocket fees, charges, and expenses of (a) Steptoe & Johnson

L.P; (b) Finn Dixon & Herling LLP; (c) such other professionals or consultants that may be

retained or may have been retained from time to time by the DIP Lender, in its reasonable

discretion; and (2) all costs and expenses incurred by the DIP Lender in connection with any filing,

registration, recording, or perfection of any security interest contemplated or permitted by the DIP

Term Sheet or any other DIP Document.

         28.      Professional Fee Procedural Requirements. A copy of each invoice of any

professional of the DIP Lender or the Prepetition Senior Lender shall be submitted to the Debtor,

the U.S. Trustee, and any Committee for professional fees, expenses, and disbursements (to the

extent incurred by such professionals after the Effective Date (as defined in the DIP Term Sheet)),



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the payment of which is authorized by this Interim Order (such fees and expenses, the “Lender

Professional Fees”). The invoices for such Lender Professional Fees may be in summary form

only (and shall not be required to contain time entries and which may be redacted or modified to

the extent necessary to delete any information subject to the attorney-client privilege, any

information constituting attorney work product, or any other confidential information, and the

provision of such invoices shall not constitute any waiver of the attorney-client privilege or of any

benefits of the attorney work product doctrine). None of the Lender Professional Fees shall be

subject to Court approval (subject to this paragraph 28) or required to be maintained in accordance

with the U.S. Trustee Guidelines and no recipient of any payment on account thereof shall be

required to file with respect thereto any interim or final fee application with the Court. If no written

objections to the reasonableness of the fees and expenses charged in any such statement or invoice

(or portion thereof) is made within ten (10) days of presentment of such statements or invoices,

the Debtor shall thereafter promptly pay in cash all such Lender Professional Fees. Any objection

raised by the Debtor, the U.S. Trustee or any Committee with respect to such fee and expense

statements or invoices (with notice of such objection provided to the DIP Lender and to the

respective professional) may be made only on the basis of “reasonableness,” and shall specify in

writing the amount of the contested fees and expenses and the detailed basis for such objection.

To the extent an objection only contests a portion of an invoice, the undisputed portion thereof

shall be promptly paid. If any such objection to payment of an invoice (or any portion thereof) is

not otherwise resolved between the Debtor, any Committee or the U.S. Trustee and the respective

professional, either party may submit such dispute to the Court for a determination as to the

reasonableness of the relevant disputed fees and expenses set forth in the invoice. This Court shall

retain the jurisdiction to resolve any dispute as to the reasonableness of any such fees and expenses.



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Such fees and expenses shall not be limited by the Budget and shall not be subject to any offset,

defense, claim, counterclaim or diminution of any type, kind or nature whatsoever unless expressly

provided herein.

         29.      Indemnification. Subject to and effective upon entry of the Final Order, the Debtor

is authorized and empowered to jointly and severally indemnify and hold harmless the DIP Lender

(solely in its capacity as a DIP Lender), and each other Indemnified Person (as defined in the DIP

Term Sheet) to the extent provided in the DIP Term Sheet.

         30.      Effectiveness. This Interim Order shall constitute findings of fact and conclusions

of law and shall take effect and be fully enforceable nunc pro tunc to the Petition Date immediately

upon entry hereof. Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h), 6006(d), 7062, or

9024 or any other Bankruptcy Rule, or Rule 62(a) of the Federal Rules of Civil Procedure, this

Interim Order shall be immediately effective and enforceable upon its entry and there shall be no

stay of execution or effectiveness of this Interim Order. This Interim Order shall expire at the

conclusion of the second interim hearing.

         31.      Retention of Jurisdiction. The Court retains jurisdiction with respect to all matters

arising from or related to the implementation of this Interim Order.

         32.      Reservation of Rights of Committee. Except for the Initial Interim DIP Loan and

all liens and claims of the DIP Lender securing such obligation and the adequate protection granted

hereby in favor of the Prepetition Lenders with respect to the Initial Interim DIP Loan, all rights

of the Committee to challenge or object to any provision of the Final Order are hereby preserved.

Nothing herein shall be used against the Committee as a waiver of any such challenges or




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objections by the Committee with respect to any further loans under the DIP Facility or use of cash

collateral beyond the Initial Interim DIP Loan approved hereby.

         33.      Final Hearing. The final hearing on the Motion shall be held on October 25, 2021,

at 3:00 p.m., prevailing Eastern Time.




     Dated: October 1st, 2021                 CRAIG T. GOLDBLATT
     Wilmington, Delaware                     UNITED STATES BANKRUPTCY JUDGE




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